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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

Plaintiff,

v.                                                       Criminal Action No. 17-232-EGS

MICHAEL T. FLYNN,

Defendant.




               ORDER GRANTING MOTION TO EXCEED PAGE LIMITS

        Mr. Flynn moved for an order granting him permission to file ten excess pages for his

Reply Brief to the government’s Response (Dkt. 122).

        It is ORDERED that Mr. Flynn’s motion is GRANTED.




Date: ______________________________                _______________________________
                                                    The Honorable Emmet G. Sullivan, Jr.
                                                    United States District Court Judge
